
722 N.W.2d 885 (2006)
Suzanne VERBRUGGHE, as Personal Representative of the Estate of George Verbrugghe, Deceased, Plaintiff-Appellee,
v.
SELECT SPECIALTY HOSPITAL  MACOMB COUNTY, INC., Defendant-Appellee, and
Arsenio V. DeLeon, M.D., and Marius Laurinaitis, M.D., Defendants-Appellants, and
Javed Zia, M.D., Defendant.
Docket No. 131498. COA No. 263686.
Supreme Court of Michigan.
November 1, 2006.
On order of the Court, the application for leave to appeal the March 23, 2006 judgment of the Court of Appeals is considered and, it appearing to this Court that the case of Washington v Sinai Hospital of Greater Detroit (Docket No. 130641) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
